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                 4                                    UNITED STATES DISTRICT COURT
                 5                                           DISTRICT OF NEVADA
                 6                                                       ***
                 7       UNITED STATES OF AMERICA,                               Case No. 2:02-CR-674 JCM (NJK)
                 8                                               Plaintiff(s),                     ORDER
                 9                v.
               10        GUO JUN XU, et al.,
               11                                              Defendant(s).
               12
               13                 Presently before the court is the Ninth Circuit’s remand for the resentencing of defendants
               14       Chao Fan Xu, Guo Jun Xu, Wan Fang Kuang, and Ying Yi Yu (ECF No. 920) and the subsequent
               15       unopposed motion for a status conference to set a resentencing date (ECF No. 924).
               16                 The motion is offered by Guo Jun to determine a sentencing date that would “provide[] the
               17       government sufficient time to transfer Guo Jun and Chao Fan to the District of Nevada.” (Id. at
               18       2). This motion will be granted. Counsel located outside of Clark County, Nevada may appear
               19       telephonically by dialing (877) 402-9757, access code: 5434328, five minutes before the hearing
               20       begins.
               21                 Accordingly,
               22                 IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that defendant’s motion for
               23       a status conference (ECF No. 924) be, and the same hereby is GRANTED.
               24                 IT IS FURTHER ORDERED that a status conference to schedule the resentencing of Chao
               25       Fan Xu, Guo Jun Xu, Wan Fang Kuang, and Ying Yi Yu is hereby scheduled for Wednesday,
               26       April 19, 2017, at 10:30 a.m., in courtroom 6A.
               27       ...
               28       ...

James C. Mahan
U.S. District Judge
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                1              IT IS FURTHER ORDERED that counsel located outside of Clark County, Nevada may
                2       appear by telephone, pursuant to the foregoing instructions.
                3              DATED April 13, 2017.
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                5                                                    __________________________________________
                                                                     UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                    -2-
